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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 16-24431-CIV-ALTONAGA/MCALILEY

  GOLTV, INC., and GLOBAL SPORTS
  PARTNERS, LLP,

        Plaintiffs,

  v.

  FOX SPORTS LATIN AMERICA, LTD.,
  PAN          AMERICAN           SPORTS
  ENTERPRISES COMPANY, d/b/a FOX
  SPORTS LATIN AMERICA (individually
  and as successor to FOX PAN AMERICAN
  SPORTS LLC), FOX INTERNATIONAL
  CHANNELS          (US),   INC.,    FOX
  NETWORKS GROUP, INC. (as successor
  to FOX INTERNATIONAL CHANNELS
  (US), INC.), CARLOS MARTINEZ,
  HERNAN LOPEZ, JAMES GANLEY,
  T&T SPORTS MARKETING LTD.,
  TORNEOS Y COMPETENCIAS, S.A.,
  ALEJANDRO BURZACO, FULL PLAY
  GROUP        S.A.,    CONFEDERACION
  SUDAMERICANA DE FUTBOL, d/b/a
  CONMEBOL, EUGENIO FIGUEREDO,
  and JUAN ANGEL NAPOUT,

        Defendants.
  ______________________________________/

                      UNOPPOSED MOTION TO WITHDRAW AS COUNSEL
                           TO TORNEOS Y COMPETENCIAS, S.A.

        MARIA LAPETINA, admitted pro hac vice [ECF No. 92], respectfully requests that,

  effective June 21, 2019, her appearance as counsel of record for Defendant Torneos Y

  Competencias, S.A. be withdrawn. Defendant Torneos y Competencias, S.A. is represented by

  other counsel of record from Richards Kibbe & Orbe, LLP, Wilmer Cutler Pickering Hale &

  Dorr LLP, and Gelber Schachter & Greenberg, P.A. All pleadings, notices, orders,
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  correspondence, and other papers in connection with this action will be served on Torneos Y

  Competencias, S.A.’s current counsel of record.

         Torneos Y Competencias, S.A. conferred with plaintiffs’ counsel, who do not oppose the

  relief requested.

  Dated: June 21, 2019                        Respectfully Submitted,

                                              /s/Gerald E. Greenberg
                                              GERALD E. GREENBERG
                                              Florida Bar No. 440094
                                              ggreenberg@gsgpa.com
                                              ADAM M. SCHACHTER
                                              Florida Bar No. 647101
                                              aschachter@gsgpa.com
                                              FREDDY FUNES
                                              Florida Bar No. 87932
                                              ffunes@gsgpa.com
                                              GELBER SCHACHTER & GREENBERG, P.A.
                                              1221 Brickell Avenue, Suite 2010
                                              Miami, Florida 33131
                                              Telephone: (305) 728-0950
                                              E-service: efilings@gsgpa.com

                                              and

                                              DAVID B. MASSEY
                                              dmassey@rkollp.com
                                              H. ROWAN GAITHER IV
                                              rgaither@rkollp.com
                                              MARIA LAPETINA
                                              mlapetina@rkollp.com
                                              T. JAKOB SEBROW
                                              jsebrow@rkollp.com
                                              ANDREW PODOLIN
                                              apodolin@rkollp.com
                                              RICHARDS KIBBE & ORBE, LLP
                                              200 Liberty Street
                                              New York, NY 10281
                                              Telephone: (212) 530-1800

                                              and




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                                     ALAN E. SCHOENFELD
                                     Alan.Schoenfeld@wilmerhale.com
                                     ERIN G.H. SLOANE
                                     Erin.Sloane@wilmerhale.com
                                     MATTHEW GALEOTTI
                                     Matthew.Galeotti@wilmerhale.com.
                                     WILMER CUTLER PICKERING
                                     HALE AND DORR, LLP
                                     7 World Trade Center
                                     250 Greenwich Street
                                     New York, NY 10007
                                     Telephone: (212) 230-8800

                                     Attorneys for Torneos Y Competencias, S.A.




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